                           U NI T E D S T A T E S DI S T RI C T C O U R T
                                                                   f or t h e
                                                         Di st ri ct of K a n s a s

C OI R o b ert C r aft,                                               )
        P l ai ntiff,                                                 )
                                                                      )
v.                                                                    ) C as e N o: 6: 2 3 -c v -0 1 0 8 1 -J A R -
                                                                      ) G E B
C SI J a c o b T o w ns e n d,                                        )
C SI J o h n Li n n e m a n,                                          )
A d mi nistr at or T er es a Gl e n d e ni n g,                       )
W ar d e n H a z el P et ers o n, a n d                               )
                                                                      )
D e p ut y S e cr et ar y of F a ciliti es                            )
M a n a g e m e nt J o el Hr a b e                                    )
                                                                      )
            D ef e n d a nt s
_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _/

     ________________________________________________________________________

                                   N o ti c e of S e r vi c e o n D ef e n d a n t s
     1. L et b e k n o w n t o t hi s h o n o r a bl e c o u rt t h e f oll o wi n g D ef e n d a nt s h a v e b e e n

         s e r v e d t h e s u m m o n s a n d c o m pl ai nt s p e r F e d. R. Ci v. P. 4(i)( 3) .

     2. D ef e n d a n t( s)

          i. E x hi bi t A

              N a m e: C o r r e cti o n s S u p e r vi s o r I ( C SI) J a c o b T o w n s e n d ( D ef e n d a n t 1 )

              A d d r e s s: 1 2 1 5 S C e d a r St
              Ci t y a n d C o u n t y : St o c kt o n; R o o k s
              S t a t e a n d Zi p C o d e: K a n s a s; 6 7 6 6 9

     T h e af o r e m e nti o n e d d o c u m e nt s w e r e s e r v e d p e r D. K a n. R ul e 4. 1 a n d K a n s a s
     St at ut e 6 0 -3 0 4 o n M a y 1 0 , 2 0 2 3 b y t h e R o o k s C o u nt y S h e riff’ s Offi c e

        ii. E x hi bi t B

         N a m e: C o r r e cti o n s S u p e r vi s o r I ( C SI) J o h n Li n n e m a n ( D ef e n d a n t 2 )

         A d d r e s s: 1 2 1 5 S C e d a r St
                                                                                                                      P a g e 1 of 3
    Ci t y a n d C o u n t y: St o c kt o n; R o o k s
    S t a t e a n d Zi p C o d e: K a n s a s; 6 7 6 6 9


    T h e af o r e m e nti o n e d d o c u m e nt s w e r e s e r v e d p e r D. K a n. R ul e 4. 1 a n d K a n s a s
    St at ut e 6 0 -3 0 4 o n M a y 1 0, 2 0 2 3 , b y t h e R o o k s C o u nt y S h e riff’ s Offi c e

  iii. E x hi bi t C

    N a m e: A d mi ni st r at o r T e r e s a Gl e n d e ni n g ( D ef e n d a n t 3 )

    A d d r e s s: 1 2 1 5 S C e d a r St
    Ci t y a n d C o u n t y: St o c kt o n; R o o k s
    S t a t e a n d Zi p C o d e: K a n s a s; 6 7 6 6 9

    T h e af o r e m e nti o n e d d o c u m e nt s w e r e s e r v e d p e r D. K a n. R ul e 4. 1 a n d K a n s a s
    St at ut e 6 0 -3 0 4 o n M a y 1 0, 2 0 2 3 b y t h e R o o k s C o u nt y S h e riff’ s Offi c e


   i v. E x hi bi t D

    N a m e: W a r d e n H a z el P et e r s o n ( D ef e n d a n t 4 )

    A d d r e s s: 1 1 1 3 0 R o a d E 4
    Ci t y a n d C o u n t y: N o rt o n; N o rt o n
    S t a t e a n d Zi p C o d e: K a n s a s; 6 7 6 5 4 -0 5 4 6

    T h e af o r e m e nti o n e d d o c u m e nt s w e r e s e r v e d p e r D. K a n. R ul e 4. 1 a n d K a n s a s
    St at ut e 6 0 -3 0 4 o n M a y 1 5, 2 0 2 3 b y t h e N o rt o n C o u nt y S h e riff’ s Offi c e.


    v.   E x hi bi t E


    N a m e: D e p ut y S e c r et a r y of F a ciliti e s M a n a g e m e nt J o el H r a b e ( D ef e n d a n t 5 )

    A d d r e s s: 7 1 4 S W J a c k s o n, S uit e 3 0 0
    Ci t y a n d C o u n t y: T o p e k a; S h a w n e e
    S t a t e a n d Zi p C o d e: K a n s a s; 6 6 6 0 3

T h e af o r e m e nti o n e d d o c u m e nt s w e r e s e r v e d p e r D. K a n. R ul e 4. 1 a n d K a n s a s
St at ut e 6 0 -3 0 4 o n M a y 1 0 , 2 0 2 3, at 0 9: 1 8 A M t h r o u g h t h e S h a w n e e C o u nt y
S h e riff’ s Offi c e b y a Ci vili a n P r o c e s s S e r v e r a n d a n A s si st a nt Att o r n e y G e n e r al of
K a n s a s a c c e pt e d s e r vi c e o n b e h alf of D ef e n d a nt 5.




                                                                                                               P a g e 2 of 3
3. I n d e x of E x hi bi t s

                          i. E x hi bi t A : D ef e n d a nt 1 : S u m m o n s a n d P r o of o f S e r vi c e

                         ii. E x hi bi t B : D ef e n d a nt 2 : S u m m o n s a n d P r o of o f S e r vi c e

                        iii. E x hi bi t C : D ef e n d a nt 3 : S u m m o n s a n d P r o of o f S e r vi c e

                        i v. E x hi bi t D : D ef e n d a nt 4 : S u m m o n s a n d P r o of o f S e r vi c e

                         v.   E x hi bi t E : D ef e n d a nt 5 : S u m m o n s a n d P r o of o f S e r vi c e


4. T hi s affi d a vit i s s u b mitt e d i n a c c o r d a n c e wit h 2 8 U. S. C o d e § 1 7 4 6 - U n s w o r n

    d e cl a r ati o n s u n d e r p e n alt y of p e rj u r y, Pl ai ntiff h e r e b y d e cl a r e s u n d e r t h e

    p e n alt y of p e rj u r y t h at t h e f o r e g oi n g i s t r u e a n d c o r r e ct t o t h e b e st of Pl ai ntiff’ s

    k n o wl e d g e.



                                                   C e r tifi c a t e of S e r vi c e

         I H E R E B Y C E R TI F Y t h at a t r u e c o p y of t h e f o r e g oi n g h a s b e e n / will b e s e nt

t o D ef e n d a nt s p e r F e d. R. Ci v. P. 5( b) ( 2) – ( A), ( B)(i), o r ( C)



                                                                                 s /___________________________
                                                                                                     C OI R o b e rt C r aft
                                                                                                           2 0 9 N O a k St
                                                                                                St o c kt o n, K S 6 7 6 6 9
                                                                                      T el e p h o n e: 9 4 1 - 2 7 0 -0 9 3 8
                                                                                  E m ail: c r aft. k d o c @ g m ail. c o m




                                                                                                                   P a g e 3 of 3
